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          In the United States Court of Federal Claims
                                        No. 21-1695C
                                    Filed: August 19, 2021


 BLUE ORIGIN FEDERATION, LLC,

                    Plaintiff,

 v.

 UNITED STATES,

                   Defendant,

 and

 SPACE EXPLORATION
 TECHNOLOGIES
 CORP.,

                   Defendant-Intervenor.


                                           ORDER

       On August 19, 2021, the parties filed a Joint Status Report (ECF 22). The Court adopts
the schedule proposed by the parties as follows:

          August 27, 2021           The defendant shall file the administrative record;

          September 3, 2021         The plaintiff shall file any motion regarding the contents of
                                    the administrative record;

          September 9, 2021         The defendant and defendant-intervenor shall file their
                                    responses to any motion by the plaintiff regarding the
                                    administrative record;

          September 24, 2021        The parties shall file cross-motions for judgment on the
                                    administrative record;

          October 6, 2021           The parties shall file replies in support of their cross-motions
                                    for judgment on the administrative record;

          November 1, 2021          The defendant’s voluntary stay of performance shall expire.
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        The Court will hold oral argument on the cross-motions for judgment on the administrative
record on October 14, 2021, at 9:30 a.m. EDT. The Court will consult with the parties at a later
date regarding location or medium for the argument.

       It is so ORDERED.

                                                                   s/ Richard A. Hertling
                                                                   Richard A. Hertling
                                                                   Judge




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